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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                    AT GREENBELT

IN RE:                        :
                              :
Eyal Samuel Rosenstock        :                                Case No: 18-19227 WIL
                              :                                Chapter 13
                       Debtor :
____________________________:


                             OBJECTION TO PROOF OF CLAIM

         The debtor, Eyal Samuel Rosenstock, by his attorney, David E. Cahn, objects to the Proof

of Claim of Marie Pineiro Perez (POC #3) and in support thereof states:

        1.    Debtor filed a voluntary petition for relief under Chapter 13 of Title 11 of the United
States Code on September 11, 2018.

         2.     Claimant, Marie Pineiro Perez filed her Proof of Claim on September 11, 2018.

        3.     Claimant asserts that the pre-petition arrears for her child support obligation claim are
in the amount of $71,692.81 and provided an Order by the First Instance Court General Court of
Justice from the Commonwealth of Puerto Rico (the “Order”).

         4.     The Claimant, however, obtained the Order using fraudulent documents.

        5.     On or about February 26, 2019, debtor filed a Complaint, case number CV-
000125450, in the First Instance Court in the Commonwealth of Puerto Rico which claims that the
Claimant used of fraudulent documents in order to obtain the above-referenced Order. A true and
correct copy of the Complaint are attached hereto along with a translated version.

       6.     Had the Claimant not used fraud to obtain the Order, the correct pre-petition child
support obligation to the Claimant using the Commonwealth of Puerto Rico’s child support
guidelines would be in the amount of $36,315.88.

         WHEREFORE, the Debtor prays:

         A. That the Objection to Proof of claim be sustained; and

        B. That the Creditor, Marie Piniero Perez be deemed a priority unsecured creditor with a
pre-petition arrears balance in the amount of $36,315.88; and

         C. For such other and further relief as to which the Debtor may be entitled.
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                                             Respectfully submitted,

                                             /s/ David E. Cahn____________
                                             Attorney for the Debtor
                                             Bar No. 18279
                                             The Law Office of David Cahn
                                             13842A Outlet Dr., #175
                                             Silver Spring, MD 20904
                                             (301) 799-8072




                                            NOTICE

PLEASE BE ADVISED THAT WITHIN THIRTY (30) DAYS OF THE DATE OF THE
CERTIFICATE OF SERVICE SHOWN BELOW, YOU MAY FILE AND SERVE A
RESPONSIVE MEMORANDUM OPPOSING THE OBJECTION TOGETHER WITH ANY
DOCUMENTS AND OTHER EVIDENCE YOU WISH TO ATTACH IN SUPPORT OF
YOUR CLAIM, UNLESS YOU WISH TO RELY SOLELY UPON YOUR PROOF OF CLAIM,
AND REQUEST A HEARING, IF DESIRED, THE COURT MAY RULE ON THE
OBJECTION WITHOUT A HEARING, OR SCHEDULE A HEARING IN THE COURT'S
DISCRETION.




                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document and Proposed Order
was served electronically by CM/ECF or by depositing same in the United States Mail, first class,
postage prepaid to the Trustee and to the following on April 8, 2019.

Marie Pineiro Perez
Urb Paseo Los Robles Las Colinas II
Apt. 1305
Mayaguez, PR 00682

                                             /s/ David E. Cahn______
                                             David E. Cahn
